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Tobias Van Buren, Jayden Robinson, and                   United States District Court
Camaron Johnson, Plaintiffs,                             Western District of Pennsylvania
              vs.
Abraxas Youth and Family Services, Cornell               Civil Division - Civil Rights
Abraxas Group, The GEO Group, Inc., and                  CLASS ACTION - JURY DEMAND
John/Jane Does 1-100, Defendants.                                    2:22-cv-499
                                                         Case No.: ---------

                                       CLASS ACTION COMPLAINT

       Plaintiffs Tobias Van Buren ("Van Buren"), Jayden Robinson ("Robinson"), and Camaron Johnson

("Johnson"), individually and on behalf of all others similarly situated, allege as follows, against Defendants

Abraxas Youth and Family Services, Cornell Abraxas Group, and the GEO Group, Inc. and John/Jane Does 1-

100, in their official and individual capacities (the "John/Jane Doe Defendants") (collectively "Abraxas", the

"School", and "Defendants"):

                                              INTRODUCTION

   1. The School, by contract and legislation in Pennsylvania, has been delegated a critical and legislatively

       mandated public function: (a) to provide a custodial setting for children adjudicated delinquent in

       juvenile court proceedings, as well as children at risk for delinquency or criminal conduct; and (b) to

       carry out legislatively mandated control and related services, and to provide appropriate sanctions and

      rehabilitation under the laws governing punishment and treatment of juveniles for criminal acts.

   2. Thus, the School acts as an arm of the Commonwealth, providing a core public function, and is a state

       actor for purposes of liability under 42 U.S.C. § 1983.

   3. The Pennsylvania Juvenile Court Judges Commission adopted the "Balanced and Restorative Justice"

      (BARJ) philosophy which requires that "youth committing delinquent acts are provided with

      supervision, care, and rehabilitation (the legal basis for treatment of those adjudicated in the juvenile

      court system in Pennsylvania) in a manner that is balanced to include (1) community protection, (2)

      personal and legal responsibility, and (3) competency development."
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